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Case 3:21-cv-01439-SES Document1 Filed 08/19/21 Page 1 of 6

oo DAVAD. SENVCK nc MINED STATES DISTRACT COURT...
AG3T SUGAR LAME 0 Lo MMOLE, OISTRUCT. OF CEOS) SIOVANIIA.

KUN KLETOWN. PA. 18058 | CAN, ACTION

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No CASE NUMBER S By Qhev| 129

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oe SHELL POLIT. MoRTGAGE SERVICES. NOTICE. OF REMOVAL FROM 0.
co S225. CROOKS ROAD, Ce en eee OMETRAGT COORT. H3232 04 OF

TROY COLCHIGAN 48098-2823... MowROk CouwTY.

 

PLAINTIEE, DAVIO SEWICK BY AnLD. THROUGH HIMSELE PRO-SE HEREBY

_ WES. NOTICE OF REMOVAL GF THIS ACTION. To TRE GmITEO STATES
DISTRICT COURT. FOR. TRE MOODLE DISTRICT OF PEnwsiivenia, PURSOAYT
: To 28 U.S.6..24 1331 AO H4ICa).. AS. STATED BELOW, PLAWTIEE
ASSERTS CLAIMS. UNDER FEDEQAL KAW, ALOW. WITH OTHER CLAIMS... |

SUCK. AS.THE TELE OMOWE Consume PROTECTIDW ACT (TCPA), 47 US.C, fF .

(221, AWD TRE FAR DEST COLLECTION PARCTICES ACT (FOCEA) 15. U.S.C...
EE ae ed. seq. THEREFORE, FEDERAL QUESTION TURISDIKTIOn
. EXISTS WR@e.. etnies una ee

 

A PABIWTIFE, OVID  SEMICK FILED A ComPinimT Ar THE DASTRACT

COURT. 43°3-04 HowonABLe COLLEEN Mancuso, QOUTE 20d" SUITE AOL.
a RO. Bor..a18, BROADHEMOSVELLE. PA.18329 Ow OR ABOOT. TUM 21, 202i.
. CASE NO.CN = 241 21. .,AGALD.ST. BETEDOHNT NEWREZ LLC SHEWPOLOT..
__-MORTORLE SERVICKS 52AS CROOKS RO TROY MICHLOAG, 48098-9393 00.
Case 3:21-cv-01439-SES Document1 Filed 08/19/21 Page 2 of 6

 ALTRUE. AND CORRECT COPY OF THE CompPLaimT IS ATTACHED |
_BERETO. AS EXWGIT A AWA IwComPoRATEO HEREIN BY REFERENCE.
BOLUM. THE. COMPLAIOT, -RERINTIFE ASSERTS CLAMS FOR VIOLATIONS

| Hoe rus sen AMO FRCPA, AS WELL AS FOR BREACH.OF COUTRACT.
SL DEFEND ROT HAS BEEN PROPERLY SERVED BY THE DISTRICT.
covet, OW.OR ABOVT AUCOST 3 2021. A TRUE And CORRECT CORN OF _

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oe i SUBISOUTIOW OL BASIS FOR REMOVAL
_ As RLAW TIER ASSERTS THAT SHELLPOWTS CoOmQOCT VIOLATED
__ FEoE RAL LAW — THE TCPA, AT W.S.C.3 227 ano THE FOCPA, IS 05.6 §F

 

_ NGV2, eT seq. SEE GENERALLY comen - oo

. S THEREFORE, THIS ACTIOW IS REMOVABLE TO THIS COURT PuRSUADT.
oO 28.0.5-C..7 \M4ICA) BECAUSE Claims ASSERTEO BY PLAINTIFF a
| ARISE OWOER. THE LAWS OF THE UNITED STATES, AO SUCH CLAIMS ARE
_OTRin THE O@ Vim AL TOR(SOCTIDA OF. TRIS. COURT OWOER

ARB USC R ABB
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_ OVER AON STATE LAW. CURIms, TO THE EXTEMT ANY SUCK CLA
_ BMSTS, 2B US0.C6T.

 

A NEMUE 1S PROPER in THIS COURT PUR SLANT To 28.U.5.C. Fwy
_ @ And. \MMe(A) BECAUSE THE OWITEO. STATES DISTRICT COURT foR
THE MUOOLE DISTRICT OF PEOWSYLVANIA EMBRACES THE PLACE
. jp TANS ACTION 18 PEMOIWS, MAGISTERIAL DISTRICT COURT 433-04
. + GROROMEADSVALLE. PA. OF MO ROE. COUNTY...
Case 3:21-cv-01439-SES Document1 Filed 08/19/21 Page 3 of 6

 

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au G. THE. DEFENO ANT HAS BEEW SERVES AS. THE SAME OATE OF.
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ADs THE NOTICE OF REMOVAL 16. SlOVED PURSUANT TO FED.R. CW.

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AL AS REQUIRED. 84 28 0.5.6. “ Fiyaecal COPIES OF THIS. WOTICE |
“RAE. BEineSEeVED 09. DEFEND AMT, AS WEL AS OISTAICT COURT 43° 3704.

WHEREFORE, PLAWTIFE. HEREBY QEMOVES THE ABOVE CAPT IDV ED
- ACTION. WOW. eRwoine. BEFORE. MAGETERIAL DISTRICT COURT 43> 3-04.
_TO. THE OMITEO STATES. DISTAICE COURT FOR THE MWOLE OLSTRACT

OF PEAWSILVANIA, AWO REQUEST TWAT THIS COURT AssomB FULL 0.

SURE BACT. ov GQ THIS CASE_AS PROUWED BY LAL

. DATED: RUGLST. Je. adak.

MAVIO SEWick

 

PRO-SE

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